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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Henry Nwaete
                                 Plaintiff,
v.                                                     Case No.: 1:19−cv−06475
                                                       Honorable Sara L. Ellis
Austin Akalonu, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 19, 2019:


        MINUTE entry before the Honorable Sara L. Ellis: Plaintiff's motion to withdraw
case [9] is granted. Civil case terminated. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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